                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               EASTERN DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                               No. CR23-2056-LTS
 vs.                                            ORDER ACCEPTING MAGISTRATE
                                                    JUDGE’S REPORT AND
 DOUGLAS GILBERT UCHYTIL,                       RECOMMENDATION REGARDING
                 Defendant.                       DEFENDANT’S GUILTY PLEA



                                    I. BACKGROUND
         On September 20, 2023, a one-count indictment was filed against defendant. On
May 1, 2024, defendant appeared before the Honorable Mark A. Roberts, United States
Magistrate Judge, and entered a plea of guilty to Count 1 of the indictment. On May 1,
2024, Judge Roberts filed a Report and Recommendation (R&R) in which he
recommended that defendant’s guilty plea be accepted. Doc. 28. No objections to the
R&R were filed.         I therefore undertake the necessary review of Judge Roberts’
recommendation to accept defendant’s plea in this case.


                              II. APPLICABLE STANDARDS
         A district judge must review a magistrate judge’s R&R in a criminal case under
the following standards:
         Within fourteen days after being served with a copy, any party may serve
         and file written objections to such proposed findings and recommendations
         as provided by rules of court. A judge of the court shall make a de novo
         determination of those portions of the report or specified proposed findings
         or recommendations to which objection is made. A judge of the court may
         accept, reject, or modify, in whole or in part, the findings or
         recommendations made by the magistrate judge. The judge may also
         receive further evidence or recommit the matter to the magistrate judge with
         instructions.



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28 U.S.C. § 636(b)(1); see also Fed. R. Crim. P. 59(b). Thus, when a party objects to
any portion of an R&R, the district judge must undertake a de novo review of that portion.
       Any portions of an R&R to which no objections have been made must be reviewed
under at least a “clearly erroneous” standard. See, e.g., Grinder v. Gammon, 73 F.3d
793, 795 (8th Cir. 1996) (noting that when no objections are filed “[the district court
judge] would only have to review the findings of the magistrate judge for clear error”).
As the Supreme Court has explained, “[a] finding is ‘clearly erroneous’ when although
there is evidence to support it, the reviewing court on the entire evidence is left with the
definite and firm conviction that a mistake has been committed.” Anderson v. City of
Bessemer City, 470 U.S. 564, 573-74 (1985) (quoting United States v. U.S. Gypsum Co.,
333 U.S. 364, 395 (1948)). However, a district judge may elect to review an R&R under
a more-exacting standard even if no objections are filed:
       Any party that desires plenary consideration by the Article III judge of any
       issue need only ask. Moreover, while the statute does not require the judge
       to review an issue de novo if no objections are filed, it does not preclude
       further review by the district judge, sua sponte or at the request of a party,
       under a de novo or any other standard.

Thomas v. Arn, 474 U.S. 140, 150 (1985).


                                   III. DISCUSSION
       Because neither party objects to the R&R, I have reviewed it for clear error. Based
on that review, I am not “left with the definite and firm conviction that a mistake has
been committed.” Anderson, 470 U.S. at 573-74. As such, I hereby accept the R&R
without modification and accept defendant’s plea of guilty in this case as to Count 1 of
the indictment.




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  IT IS SO ORDERED this 16th day of May, 2024.




                               __________________________
                               Leonard T. Strand
                               United States District Judge




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